Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 1 of 10
                        UNIT\SD ;:::;11\-~ 0\~'tR\L_"T C~\7~~
                       st)v,-l~~((J\J \-) t~TR\ c_\ Of:: ~LO  .                                                  G
                                                                                               FILED by      f           D.C.

                                                                                                    MAY 1 7 2016
                                                                                                  STEVEN M. LARIMORE
    ~H-D t'\~ f'0~C.)C.rtN z._\~
              rt.--i.\ ~~ oif\'-'                            [~b5LQ0. N() ~.                      CLERK U.S. DIST. CT.
                                                                                                   S. D. of FLA -MIAMI


                                                            ~1-cv-k         L,"f, NtJ : 'LOlO cF 3}91-4---
                 vs. .
   .stt,     0~ C0RR\
            PftP'tt
   S~~ Of:: Fl..bf'\ 'r:J~
     ~-PQ~d-tnt-
   ----------------~7
                     /


                      P~rl.ilON Vtvf-J~Jt. L~~~ z_c_s-L{ FD~
                                                                FOR MAILING BY

                                                                                     ---
                      W~\Y          at=:   N-A-t"SI( ~        cvrc fv~              ~Y      A--
                      p ~R.SO(\)           \tv ..::S\A-~~ cv~ 'f'D P Y

     I.   (l'l\Jf'+   CMJJ kt9~A'l-UDJ\ / ::ru cl3 Kv'\_i oi-' Ce>iA.\JoQ~IOJ\:
                      Cu r:ru, i- C'Q)w+ I~1 f>. ::YvJo LtlcJ Con v •~
                      cr~ IJ ~   CV\. ((, \) l/"             \)
                                                          c~ ""--Q. ~
                      ~~~ o'f f=lo~h li~

                      C~ ~ f\)O ~ LC) I 0                -C-F--- 3l C1' lt-

     2~ 0~ of: J'vd~MtU\_4-                               o'f     C~v'\.vvt-tJ t>t!\ ~

                      :Scp ~~h~f' l ) cJ)t l

     3>e l~Lf\-jJ~ {}f :S~~itV\C~ ~                             2__()    ytul fJCJC,
     4 . l!J~ ~ cC) V\.V' G~u)) D12                               f'AJ) f'l_   tv\AA olA ~ ~ t u~t-.
    ~I Co V\V ut-M ~ f- ~ b~()                Vv\,   L   ri/\_V~\\(JLf\ [tokbzf'y
                                                                    cat/dlv S3tJ/Z2.S4/mtfl
                                                                    Case#
                                                                            ::-==r----Ma_e_L.U".~;;--,h.!!!!II"'!!"P--
                                                                    Judget;;w:J
                                                                    Motn lfp NV Fee pd $ -
                                                                    Receipt#------
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 2 of 10




     ~. flwJ             NJf        Gvt I it
     7. D,· d N>i. ~-\.1 {'i 0\,~ ptdV'i·c-. I,                          fro c..l         or       f o~ Hvo'c.l .
     t) (   lllii Ckf p~oJ          J LJ ~J Yv\. t 1\ t lN~     :S.t-1/\.~lAC~
    9 o N CNV\~ af CovJ'-{. o'0 Ap? tcJ ~
                          FD~r{lA D~~+"~ t-+ (Cl\JJ'i \) f                           A~r 5loJ
                          c~~ 1\JvMbu-- ~ Cll --~t5 7~
                          Pt.f' C~JfNNV\             Af-\\t yv'\~&
                          DPvk;
                          \) tl\.\q\OW 11\.           4~ 0 1\
                                               C \ ~ex_


              Grou~ ~.)0 ~

                        ..s~~ ~) \-t&              w ~J'tt\Jl            lio~ t "$\J~ovv'\
                        ~~'b'DAr-y'
    I0~ OtN.o-          Y"\\){l\')A?     ~~( ~d ~

                   I C(l H- J vd) ~0 cJ c~ J't \) \ t
                   ~L oVD~ ZJ)\0---CF-~)C}-A­
                   [)Ovk!
                   r'\ 0~ X) 11\.   ro If'    fD:A- c0\f\\l \~~ I\)~'\      !(<{__ ls'--' f   I3   I   2"3 rJ
            C5>t'OUV\.d.S    ~\~.std ~

                   It           \) V\ f~~Q\1\.Gdl) \ l fa_J I.Q.d ~ dJ~ C()\J ~ {'
                           CD v V'3 d
                  1~t- J'Y\('. (V\~~l~f\Zl ~ IN0 V\0+ ~ 1\oJ.Jo ivoJ
                  crffiAd~J \J\1'\~il +11~ iv\l{c~1 ?\-to,__ o'\itr .tt;tpb. ('t&.
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 3 of 10




                L,        C~ v 0\J d       \J   ~I' "-~"'-o-_ b1 y ~11-tJ {o                            III\\J ~4~01,-ft
                tM-,..:>\1\c}·L ~5+ IMft>U'-i.IM.{ p\ttL o'f t\llolt/\CQ._
                ~v"+tl ~)..:( il\,{o\\.1 ;f>lto_ offv -v;~~~ ~d -Jk
                 \)\1\f\ \II' J ~d I i'. cl1 c._{~ tl\i C~ '<... r'\ {', 1"\c-.s:.k M ~H...
                W 1-\-h      (]-.._ \t~ ~ -t\)j \ 6 k 'fe:.J My

          A ~ov~\~               jN~         k\d.
     1\, fkcv-1~5 w~ k\cA                          \V\;

                                                                  +
                  I~'It{- ::r\J ct l c. vcd c.\ t c: v~ c~ \.) ~~' ~
                 (f\A_~ ~ 0\ V\. fZ~ \) t {' ~ \) A.i- '1
                  .:si--e'"'k £:; f Ftb'ft do,
                  l~ Nt> ~ z_~ l o--- C-f- ·~t ~~A--
                   DoJ-~ \:)'f h L~J ~                               ,
                  (\) CA..'t\J J'L   ~   fY\'o ~v ()"'   ~ J'      fo.s { l        C> V\\) 1                      +
                                                                                                C.,~ I b ~Z.£.J I ~
                                                                                                        if\



         R\Sul~ v~ ~~W'~N1 ~                         Dti\I~J
          DoJ-~L ·~       =r\Jl~ ~(; L.~t S

          A~~~cJ st& ~ ~
                                                             i-
                     L-fil+ \)l.S.ifl t-.f- Cb" J' t> f App wJ
                     c~ I(_ No~ t..f D 15- 31)cl
                     CJo\k t; \ tJ! C)~{G b~t.f' \ L 1 L~ l S
                      fu~i-\H\.,; A-pp~oJ ~'f PaJ+ (QJv~ut,{oDV\ fV\~titV\
         Q, f\') \.) ~d ftoj ~52-J.


                 ~~~ 1k }oW~('                   C(')\Jf't    ~J'ftd            by Y\1)~ {lAJI~G)
                 '1--~t        rv •       f"\tA_£J"'-t/\   C~ t, I :;,   (   CJ \J 1['\..:, '1.,1',3.   f '\_r'f\).r ~C    Q_
                 t-Jc,S      c_Dv\S.4-~-+-\J~G\JV\~llv/ dt-ildtJ\i,
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 4 of 10




                        2., 'fk lowu                      Ctlvf'~ ~~~r~..d i"" 'fi"'d'.":-':1 j-N,_,j-
                        c~ \1 11\::::>~l 5       c)_ ~f~ t ~ tV\t pV ~CJ J' VV'--0\_"-C ~ Of)   ol   Y\/0   i-
                        ~f~\)o\J~~                J"\i'v ~cJ~J\~Je._,

                   DI Dl        f' t)   t   i"-\C "- Iv   ~       D-.._   h "- 00. ·"J '
                   R~v \t          t        PC..~
                   bcz_~:               Af>l',·\ L~ z..Dib    J




               'fi\ ~J         !"\ 0 {; DV\      ~ J' 1"-~<t (\f'l "j                J1\ :

                            '"'~ w Pl ~~f •Q_ -t-             cC!J\)      ,of -t= A-r p"-QJ1
                                                                              (l

                           C00-L     N'0 ~ l-J nI s--- ;3c:>L. l
                           D~ k ~ 'fY\Ov'-j q ~ L.O I b
                           f\J r;_'{wL : {1\~ i I\)"'- fV (' ~h.,..C\f'/,'j
    1'2..,        Gf'D\j 11\.d::::> ~

               G>Rou~          D ONE.~

                       lk lowL..r Q<C~'->.r~ 'tvo~..d b't Ml1- fbl\d~~
                       c0 v U\_~ 101 '.s plU''Rl.r UV\.W\ cQ. c0~ ~)'j. \) 1~ X) V\.'Cc II y
                       ol\.11 cH "'-,} wk rc c'll \) V'..;> «-I 'f0t..d t_cl 'i-o ~
                       d} ~ ~0 \J tf t~Q i- 'fJ\ f' . (v\.os. k~ VY<-J t W G-5 ~ ~
                        c___~~\ao~vcJ ~)\1V\Y oftt~tc:lLr VV\.~&l tht.
                        1~; 1;CA.) fl h o, e> 'ff~tr "lx: p; n. d.

             ~\J fPOR.\ IN                  b FAclr3

             (f\lf'\   ~~)ccNe~:S                     CC0«- .3>D~r~J 'ff'OVV\. CA..
   'b d.~ t.t\ kl
        V\..                                b<rt_c0;:_dow V\ Vii' I pi-t-CA. 1\-tC) o1icd~ bvD ,
                                                                           J '3
    I k_ '0' 0~ tl\ ~~ (\)\./ M.OJ'i 'j d -'. _ 0r l'{ 0~t> ~ s -{1!<\\ ~ ~ k
   S-k_'!'t fJ'b <::HOltd w' i<\.\..()'-5~ f'\1'. ~\C~.f\G-!t...
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 5 of 10




    wtll'c       Q      ~c;.b'b4-v<Zl {\lod\y oii~Adtr C'·' HFc/') ..subjl(\..~ {~
    CA.,     3~- "JQ...W' ~z_J\.kAC~ CJII\ ~~ 011'~()0.'\0J c"'-w-fjU~ ~~
    )S"YQ..OJ'  off\1 dtMAJ4\~+~~~d 1~ :Sk~ 's wb \l&V(JV\l-SrS
   {.D rvt.(\~{ooJ~~. ihi cJ CD\JV\S~J cltw[y, dt)d Mt- f"\.ttlo'LQ
    {~~ f\('. 0'\~cJ~QVt.-cJe., w~ l'vtt CN\_ HFo, -tvcA oJi'~"' Ml',
    ("V\~t-l~J\tJc t,V\'fbJ'lf\1\-l(d ~h"'- t DV\..{L l 1,~ llv~ {J IoJ-\.. %
                                                     +
    ~ () 4-I oJ~ f!\A~ o-...._<j f'U_M- t "'- \J If\ -\\;"-o.__{ b ~J.-.~l ~ ,
         tk 'PJ\-t~~v'\{(' ~pp~ct1 <td ilr\1~ 5f\)\.)V\~ io {~
     h1 ~I\G4 si--c__{z - C<D\lU'{,           -

             Jf\ \.'>    ,- ~u ~   w~      1'0-n ~ cl
                                                  -hv o'{1 \r.      CA..   p~ i-   CV\1\'V   ~ d-   1   D""
    IV\_\)   '1 HI) A    \ V\   ~ ;s~Jsc i v<b ~I co u J''t,


             GRJ)0tJ(.J TWO~

                        Tk )ow~r C'CJ\Jr{ \fJ'tJ b·~ M+ ~1\cAfi\;J .
                        OJ \J U'D '(Js fV ~ J' fV\.Ov\.C 10 Ctl \1\->k4'\J ~ l l'l 11\(\ )\ f
                        vl~i1(_~~·'\4- (N~J'Z CO'-.;~V ~\ \ td ~
                        ch.s C()\J tr i~ fV\tMiAj o'f ~h-L lot V\\JVV\b\(',S
                        Oif\ +~ 'u:Jt>1t\ t;s o'f ~~\V\.t kQ.U\ \J\ 1b ~~ ~
                        0--d.-v\~~ f.f~ 0\~~\qA"LJt iM.{ (A_ p[~q_ w~
                        \J\ ~~:s- l ~'\{/"~ ~.
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 6 of 10




     CI:JV\ dv dt& i~d +k r.'JI/\ly \-1-U II ~.k.v\ b0 H-) U f .1\ ~ N._
       WO\f'ld ~ ~~OJ'{, +k if'\\{M'btJ',S lN~ +~ \9lfVt~ ill\ 'ftv.._
     so X'- pCA..\:.h- ~i-- i~~ v ~ ~i\~ NJ\j~Q__. T r v~\ cQ)\) ~Q.J
     .s~\.>\cl ~vt ch. ~J' V'A-JAlJ -tP._.v"'lJ tl' thQi M CeJvld
    \1\.JO{ p K:S.~J\,i- -{'\/ o dtJ\ et itJ ()vl/\,~J C0 if' C\,4_ t lA.. DV\1\.I?CA.CLt
     O'C t~ \dtA'L fJ tOt laOV\ 'f\VlM\rJtf'j,

          lk ~~-Ji-\.1\:lvM l:>f>PR_I:J\~ {~l.'> 1'~\l~                              k   1~
     h~,s ~ \~ ~ ~t~ iL cQ)\.)V'i,

         T~~~ \~S\J~ \;.')~ f'C\~~~d t~N) v5lA CA. po~ t
      C{b\J\.\J \)t io \8\/\ fV\X) ~~~if\ b/\. D\__ ~3~k ce>~v-~,


          GROVNC 'Tl{Ritft.~

                   11--t lo~,JU CQJ""~             'Ufd 'o~ 'foc\J2:>li ~~ oll\ ~N_
                    ~~:X.v"\2C      \Jf     0-.. }it\V\~)qf\ Kp ~c::_J\.1-Riov-r:... CA.~
                   "fl'loJ, I k 4-n ""1 CQlv,.i- 'f~X, I td to tV\;Jo:51L
                    ~tJq+~, tk ttt~vo"'-i-- l ~_o/A\ tv~{non ~
                    \Nh ttNr ~i IN~ r~Q.Jv~b\'vl \i )e-Jy tlA-c-vi
                    r\f\f'C\\Ac}:::.~/\2-ot woul c{ ~\J~ CA._Cct .p ~&<A
                   p\~CA v+f~f" It k ~0 ~tv\ CActVv~~O 'f~oJ-
                   fk toi- Y\vVV\~f'~ OlA ik 'UJ~tt\u w~K t~
                   'f\J 1\ dl \:l AR\ -tttv t V~A-1-t V\ ~ of f~ ~ l J' 'P r' it{.~
              5 \Jf'P \> {(.'tHv G t:Ac1,s

         J"r-.-   o..d oL i 11J V\ 'hl    M.l ~ a....   Jv ~ ~\-   o..bov +- h.o;,   .3M kl:~ ~
    L)G~ ID.Su~ 1 +t,'C\.t \_0\J~J lt~-U'ld d\_~ t~ ~v'Yt
    ~V' ~r~~~'- b'l ~~II~ {.o ~-"'"G~~~k +~t
     \dtV\.i~'fic.C\_~v~\1\ V\.\)VV\~tt' w---d O-..ffr~.s ~ ll'r, 0\o'-cl~ev'\L-v~
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 7 of 10




                  .,..,

         \~ ~) ~ ~_)v ~    W 00 ['GJ ~~&        +hl't1U5~ ~      P0-.S. i   (Q)V\.V J ciH.?V\
     ~~~vOU\,


        Gqz0\.1(\)D R9\J~:

            lk l'OW~        Ct;\)O't-      b'-/ rv0t- ~ /\_cJ_J~C1 +~~+­
                                        --tJ'J'tol
             +~ ~kJ-'C          \J~COV\S{i~V ~U\')v\Cc\ ly 'frN )'(~ "}()
             P  f'Q\J't- CA.ll 't\.1,_, ~\ ~MtAf,s C~ t\ C> M   V---i ~\rW HJV\
             1'0 b'D~..r''j.
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 8 of 10




           .s\J ~PO ~\1 J\J G   f=J\.C,'i?

                  1k-L sk~ ~~~d ~ 'flJ'D\1~ rvo~'-rll\~~lJI\
      ('\) bb'U'_y s '\-cJ~ d.. d f\-0 t f' /'DIJ L t~i i"\1' ' M.(A_tb.tJ Z.J e_
                  I

     v:::, 'Lcl 'liD' c'L , v b \9 t-tv'\.~ t , IA..'3.-" C4! 1i av:- r v t+ li\,<J 1V\ 'Kw'
     ( tA 1-k, ~Q>UJ' ~ elf ,)._cJ:. ·~ MA;VU,_ Y 'f"f6~ f'\s • I('MMD1!';3.
     N:>f' dl~ d ~y          r   ('0VfL f'V\J'1 r'\0;'-~~AI\"t)(., f~ k~cl 'U)( io
     r-bp rt~ c ~(JV\S ol- tk ~~ ~e lt- tiA~U'0 +k MMt
                                                                                             1


                                                                                                 I




        lk p-"'i..ui~Mv' 0\,flf-\wJ "~ flrvj ,.S~u~ iJJ 'tk
      ~ij~{ ~k4--L CQ:>\JV'{,
           'fk I~~\JL \!"~ f'i:;J.->~ dw~-l'j ~ l'o oJ av.__r:f
     q_pp~Q\-\_c{      Q\A    0f~·('-tc:_t- ~r.zev~.


    I:,,   All .9 f \J\JAlls ~l--'>Ju;{ ' A 11-r. S: ~ Q_~ ~ 1oIf\ Mv-t.
              f
     b'L~v'\. It SllJ\.M {.Q -+lr'L ~~51r-.\.S {- s kJ.t_ (' ('> \) d
     ~ lA.J J\JV'i~ d) c._ ~H)V\.

    1"1, ::[ ~C\'JJ~ NJi- 'f1kd ~ ~\jp~ ()'f pdo~J\'JII\ 1
     ~ff lH~_qJ·v'DV\ 1 l> ll ~1\.0LA. l~ k. ~cl'\tCA.-'\ CO\Jf'~
     1<:..-3 O...lfd.i ~ <fk r(I)~YJ t~, ~ V\ choJ l -t "'5LCJ \vve.

    Is '  (11 tJ ~d l ~I ~ lf\S OJ'<_ I? .t ~ ''"':] • .pd i ~D \:)""-~/'     J:_.,
    fd1A.]i fdl"\·\b"' 'VJ.t WJ,\1- Df CV~~tli(CJ"'Y 1"'-                     ~k­
     UV\1 'A_~ ~~~ 3v'Pf-tM-\. Co\JA,
Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 9 of 10




     16, A-#oru\J..y rv~
              ~f'L\( N\,b   T\.fAty   ~ {zV\..CJA.j ~ ~ l~~ S~t ~~
                                          S(..,A.
              ft.p ff-oJ ~ P~D)cr1y No-v~))~
              P~{ ((JV\.Vvc:JWJ\ ~ GC'CAy fl'o c~\0
              ~ppt_oJ:         0~y ff'Oc_~f'

     /1   I   f\)t>   'f'J4-\)tt. .S<Llf\~/\ CILS OJ'L          -w   ku__   .SSLU'\Jtd

    1'0   \fhl~ -Pc~ui~OV\ i~ i'N~J~ p\J\J'~u~+- L?! V3L.- ~ 2_L-5Y
      <M--d ~ L-cYC\,

     WN.A'fort tk... pse-~~ i--H)Lf\tf' CNl~ t~~ ~ tk UD\) ~t­
      r~\J \..J'~ ~f'.J ('LVV\. ~d '{OJ" 'tv r- +~\;\/' f V' \)crt Q_dt !3
     't~Ov~ ~ COV\..~~" ~ {~ ~V\~) ly C~f'J"Q_Q_~ Ov'-c;j
      ?rUf~f.

                                      D~lrt /CR-K\: Of :;ltrtV\ C.JL

       q=_ JIU:,\(N'C VV\.~tf' p,t~l~ Qf p~i'J~"'Y +IAJl.J, t~
    ~J'Lf)\);~ )'S"' ir\J~ CA-l\d c~lf'ftct lAA..d ih~~ t\\l~
    P\L,{ ~-rv ov'\ '+0 "'     w" {
                           ~ o~ l~C\;~ u:~~ Co v-¥J\J ~ w(}~ M~ ct ~ ll       r\
    tk pN.iM ~~ li"'9 ~i-t""' ~~ 5D dD..~ of: ll--prd 1
      Z-Ot (o   I




                                            z~ v..~~1/A£
                                              ~~0M~ \"\QC\c.e.I\C.JL
                                               p~~~OV\-tl' {\) 0 ~ blJ9/Ir~
                                                            C.v r,
                                               'to ~Q )c:o,__
                                              3 ~ s-o \f o5 ,__.r ~o_,! Rd
                                              P~y~~, ~L 3 t) z..4
                                     Case 2:16-cv-14169-RLR Document 1 Entered on FLSD Docket 05/18/2016 Page 10 of 10
 Thomas W Mackenzie # 620713 I Ft 26-L                                                                                                                                       vq·.:r ........

 Tomoka Correctional Institution (Main Unit)
                                                                                                                            "; '"'      ~ ..; ' ' ; ;   ;; . - 1 i
 3950 Tiger Bay Rd
 Daytona Beach, FL 32124                                     USMS           ......... .
                                                                          7
                                                          INSPECTP+\_~F.r, f'$llibr~IVED .
                                                                                    StAffr "40RR~ttroNA
                                                                                                 'l.'''' .d,,,ti
                                                                                                .lf\if!;     HJ
                                                                                                                 rr··ION
         ..<>~
             o,"'l.                                                                                                                                                                                     USA
 o~t,-           ~'¢~                                 uIs. t),~·c..t (t)\J   dtr-k~ OffiCJL                   c+
~ " ~d"" '<>4<
     .._-~o
  ·1?""
    -.,h.             "                              ~\J~~u--~ Dt~~f''L~ of- RC) {',~c.
          i,/A •          ', ·"          ,.,

            ·vG'<)f               • " ' - "I
                                                     t.tO(J (\)ar-t~ r\\ 0\JV\~ ~'tu\.\J Q.

                      ~~                             If\ ( ~ l"\t I R ' ~ ~ \ L~- lll b

                                                          :::i:::; i   ~:8- ~:7   i t:i=::i:3
                                                                                                               'I ij jii i iii iii li jd ii llh;idi ;iii!ii j,,jij !' i j pjil iii llli i i ;i ij

          S!..C( SdSn@                         -     \1                                                                    · .r'   ~;


                                                                                                                                                                      iiUI:J.diUS:; -~0i)!-j   i!rJ!]'V<:

                                                                                                                                                                            :3/\llVUINi@
                                                                                                                                                                         A!:US3HO::l
                                                                                                                                                                      3l8VN!Vlsns
